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FLSA SETTLEMENT AGREEMENT

This Settlement Agreement (the “Agreement’) covers all understandings between JUAN DIAZ
(hereinafter referred to as “Plaintiff’) and Defendant CARIBBEAN SUPERCENTER, INC.
(hereinafter referred to as "Defendant').

WHEREAS Piaintiff filed a Complaint against Defendant in the United States District
Court in and for the Middle District of Florida, styled Diaz v. Caribbean Supercenter, Inc., Case
No.: 6:20-cv-00962-CEM-DCI

WHEREAS, the Parties wish to amicably resolve the above case.

NOW THEREFORE, in consideration of the mutual promises, mutual releases, and
covenants contained herein, the Parties have agreed as follows:

1. For and in consideration of the promises made by Plaintiff, Defendant agrees to pay
Plaintiff the following amounts, 10 business days after court approval of the settlement.

a. Two checks payable to Juan Diaz, divided as follows:
i. $4,147.50 for wages, less the applicable payroll withholdings. A W-2 form
will be issued.
ii. $4,147.50 for liquidated damages. A form 1099 will be issued.

b. One check made payable to Cynthia Gonzalez PA for $2,705.00 which is payment
for Plaintiffs attorney’s fees ($2,250) and costs ($455), which have been
independently negotiated from Plaintiffs recovery. A Form 1099 will be issued.

2. Plaintiff agrees to release Defendant from all known and unknown FLSA and wage
actions, claims, counter-claims, and/or liabilities, occurring on or before the effective
date of this Agreement, related to the above referenced case.

3. The Parties agree that this Agreement is entered into knowingly and voluntarily, after
having the opportunity to fully discuss it with their attorneys. The Parties agree that the
Agreement shall be construed as if the Parties jointly prepared it so that any uncertainty
or ambiguity shall not be interpreted against any one party and in favor of the other.

4. The Parties agree and acknowledge that this settlement is the compromise of disputed
claims.

5. Any reference checks directed to Defendant will be responded to in a neutral manner.
Defendant will only provide Plaintiffs dates of employment and last position held.

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6. This Agreement may be executed in counterparts, each of which (including duplicates,
photocopies, faxes, or scans of originals) so executed shall be deemed to be an original,
and such counterparts together shall constitute one and the same instrument.

7. Should any provision of this Agreement be declared or determined by any court of

competent jurisdiction to be illegal or invalid, the validity of the remaining parts, terms or
provisions shall not be affected.

8. This Agreement shall be interpreted, governed, and conformed in accordance with the
laws of the State of Florida. In the event that any party breaches any provision of this
Agreement, the Parties affirm that they may institute an action to specifically enforce
any term or terms of this Agreement. The prevailing party shall be entitled to recover
attorneys’ fees and costs from the non-prevailing party in any enforcement action.

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DATE: Signature: .
JUAN DIAZ
DATE: Signature:
On behalf of CARIBBEAN SUPERCENTER,, INC.
Print name:
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Case 6:20-cv-00962-CEM-DCI Document 15-1 Filed 08/01/20 Page 5 of 6 PagelD 43

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DATE: Sei. Sanehire:

 

 

JUAN DIAZ
DATE: _? | 44|2-0 Signature: Cerner
On behalf of CARIBBEAN SUPERCENTER, INC.
Print name: p/atderve war 4 wonaiar

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